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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10           v.                                        ) 2:13-CR-212-KJD-(PAL)
                                                       )
11 WILLIAM STACK,                                      )
                                                       )
12                          Defendant.                 )
13                               PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on December 31, 2013, defendant WILLIAM STACK pled guilty to

15 Count Two of a Four-Count Criminal Indictment charging him in Count Two with Use of a Firearm

16 During and in Relation to a Crime of Violence in violation of Title 18, United States Code, Sections

17 924(c)(1)(A). Criminal Indictment, ECF No. 1; Change of Plea, ECF No. __; Plea Agreement, ECF

18 No. __.

19            This Court finds defendant WILLIAM STACK agreed to the forfeiture of the property set

20 forth in the Plea Agreement and the Forfeiture Allegations of the Criminal Indictment. Criminal

21 Indictment, ECF No. 1; Change of Plea, ECF No. __; Plea Agreement, ECF No. __.

22            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

23 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

24 Allegations of the Criminal Indictment and the offense to which defendant WILLIAM STACK pled

25 guilty.

26 . . .
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 1           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 2 924(d)(1), (2)(C), and (3)(A) and Title 18, United States Code, Section 2461(c):

 3                  1. a Smith & Wesson .45 caliber handgun, bearing serial number DYD7516; and

 4                  2. any and all ammunition

 5 (all of which constitutes “property”).

 6           This Court finds the United States of America is now entitled to, and should, reduce the

 7 aforementioned property to the possession of the United States of America.

 8           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 9 United States of America should seize the aforementioned property.

10           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

11 WILLIAM STACK in the aforementioned property is forfeited and is vested in the United States of

12 America and shall be safely held by the United States of America until further order of the Court.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

14 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

15 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

16 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

17 name and contact information for the government attorney to be served with the petition, pursuant to

18 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

20 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

21 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

22 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

23 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

24 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

25 petition and the relief sought.

26 . . .

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 2 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

 4 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

 5 following address at the time of filing:

 6                 Michael A. Humphreys
                   Assistant United States Attorney
 7                 Daniel D. Hollingsworth
                   Assistant United States Attorney
 8                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
 9                 Las Vegas, Nevada 89101.
10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

11 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

12 following publication of notice of seizure and intent to administratively forfeit the above-described

13 property.

14          DATED this 6th
                       ___ day of December, 2013.
                                  January, 2014.

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                                                 UNITED STATES DISTRICT JUDGE
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